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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION
                                       Case No.

  Marangely Lopez,

          Plaintiff

  v.

  G4S Secure Solutions USA, Inc.

          Defendant
                                         COMPLAINT

          Plaintiff, Marangely Lopez (“Plaintiff”), sues the Defendant, G4S Secure Solutions

  USA Inc., and alleges as follows:

                                    NATURE OF ACTION

       1. This action arises out of Plaintiff’s employment relationship with Defendant,

          including her discrimination, harassment, and retaliation, based on both her sex

          and her race, in violation of the Title VII of the Civil Rights Act of 1964, as

          amended, 42 U.S.C.A. §§ 2000e et seq.; and the Florida Civil Rights Act of 1992,

          Fla. Stat. § 760 et seq. ("FCRA").

                                           PARTIES

       2. At all times material, Plaintiff was a resident of Palm Beach County, Florida.

       3. From 2014 until approximately October 2018, Plaintiff was employed by

          Defendant.

       4. G4S Secure Solutions USA Inc. is a for profit corporation existing under the laws

          of the State of Florida. Defendant has its principal place of business in Jupiter,

          Florida in Palm Beach County. At all times pertinent hereto, Defendant has been

          engaged in an industry affecting commerce and has had 15 or more employees for
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        each working day in each of 20 or more calendar weeks in the current or preceding

        year.

     5. At all times material hereto, Plaintiff was an “aggrieved person” as defined by the

        FCRA, Fla. Stat. § 760.02(10).

     6. At all times material, Defendant was a “person” and an “employer” as defined by

        29 U.S.C. §630; and Fla. Stat. § 760.02.

                               JURISDICTION AND VENUE

     7. This court has jurisdiction of the claim herein pursuant to 42 U.S.C.A. § 2000e-

        5(f)(3), 28 U.S.C.A. §§ 1331 and 1343(4). This civil action arises under the laws of

        the United States and the law of the State of Florida. Plaintiff is alleging a violation

        of her rights under Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C.A.

        §§ 2000e et seq.

     8. Venue is proper under 28 U.S.C.A. § 1391(b) and 42 U.S.C.A. § 2000e-

        5(f)(3). Defendant is a corporate resident of this state, doing business herein, and

        the unlawful employment practice of which Plaintiff is complaining was committed

        in Florida.

                              PROCEDURAL REQUIREMENTS

     9. Plaintiff has complied with all conditions precedent in filing this action, to wit:

            a. Plaintiff timely filed a charge of discrimination with the Equal Employment

                Opportunity Commission, Miami District Office;

            b. Plaintiff was mailed a Right to Sue Notice as to her charges of

                discrimination; and

            c. This complaint is being filed within 90 days of the receipt of that Right to

                Sue Notice.
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     10. Any other applicable conditions precedent to bringing this action have occurred,

        been performed or been excused before the filing of this lawsuit.

                                GENERAL ALLEGATIONS

     11. Plaintiff was hired in early 2014 as an employee of Defendant.

     12. A new HR manager, Tiffany Hoffman, was hired in June 2018. The new manager

        is female and white of non-Hispanic descent.

     13. Plaintiff represented the only female under the managerial control of Ms.

        Hoffman. There was a female receptionist, but she was not under Ms. Hoffman’s

        supervision.

     14. Immediately, Ms. Hoffman began treating Plaintiff in a negative way and unlike

        how she treated any of the male employees. The entirety of Ms. Hoffman’s

        treatment of Plaintiff was designed to silence, intimidate, and humiliate.

     15. For example, Ms. Hoffman treated Plaintiff in the following ways in which she did

        not treat male employees:

           a. Ms. Hoffman would start loud arguments with Plaintiff only choosing to

               disregard a professional demeanor;

           b. Ms. Hoffman would wait at Plaintiff’s desk and watch her work, hovering

               without speaking.      If Plaintiff stated that she felt uncomfortable, Ms.

               Hoffman would only come closer still without speaking;

           c. Ms. Hoffman would ask Plaintiff questions that presumed answers. If

               Plaintiff disagreed, MS. Hoffman would accuse Plaintiff of calling her a liar.

               This is gaslighting;

           d. No matter the tone, volume, or pitch, Ms. Hoffman would accuse Plaintiff

               of yelling at her.
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     16. Further, Ms. Hoffman made discriminatory comments about Hispanic employees

        and applicants including Plaintiff. For example, she was overheard to say “Spanish

        people can never get it straight” when referring to their work product.

     17. Plaintiff made two complaints to HR about Ms. Hoffman and her treatment.

     18. It is not believed that these complaints were ever investigated by Defendant.

     19. Further, it is not believed that these complaints were kept confidential from MS.

        Hoffman. After each complaint, Ms. Hoffman’s intimidation practices seem to get

        more intense.

     20. Shortly after the complaints, Plaintiff was terminated.

     21. For the period of time from her hire to when Ms. Hoffman was named her

        supervisor, Plaintiff had few, if any, performance and behavioral issues at work.

     22. However, in the short period of time that Ms. Hoffman was Plaintiff’s supervisor,

        Ms. Hoffman found Plaintiff’s performance and behavior to be opposite of that of

        the previous 4 years and her terminated. It is Plaintiff’s contention that this

        assertion was pretext for termination due to discrimination.

     23. As a manager, Ms. Hoffman is considered an agent of Defendant.

        COUNT I: VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT
                         SEX DISCRIMINATION

     24. Plaintiff adopts and incorporates by reference the allegations in paragraphs 1

        through 23 of this Complaint.

     25. Plaintiff is a woman and as such is a member of a group protected under Title VII

        from discrimination on the basis of sex.

     26. At all times relevant, Defendant was considered employers under Title VII.

     27. At all times relevant, Defendant employed over 15 individuals.
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     28. Following the hiring of a new manager, Plaintiff was the victim of sexual

        discrimination on the basis of her sex. Defendant allowed persistent and pervasive

        sex discrimination to occur within the workplace, refusing to stop the situations or

        address them at all, ultimately ending with Plaintiff’s termination.

     29. Plaintiff did not welcome the conduct described in paragraphs 14-16 and advised

        the human resources department of Defendant that such conduct was unwelcome.

     30. Plaintiff was subjected to the discrimination because of her sex.         No male

        employees were treated to the same examples of negative conduct as that of

        Plaintiff.

     31. The discrimination adversely affected Plaintiff's psychological well-being.

     32. The discrimination unreasonably interfered with Plaintiff's work performance,

        though not enough to justify any assertions of poor quality by Defendant.

     33. The discrimination to which Plaintiff was subjected would affect the psychological

        well-being and unreasonably interfere with the work performance of a reasonable

        woman.

     34. Sexual discrimination was sufficiently widespread, pervasive, and prevalent in

        Defendant's workplace at all times pertinent hereto to charge Defendant with

        constructive notice.

     35. Plaintiff gave Defendant actual notice of sex discrimination on several occasions

        including two official complaints.

     36. Defendant failed to investigate Plaintiff's complaints.

     37. Defendant failed to take adequate remedial action.

     38. The discrimination continued to occur following Plaintiff's complaints and

        continued up to and through her termination.
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     39. Plaintiff sustained emotional suffering and injury attributable to the

        discrimination.

     40. Plaintiff has been without work a considerable time due to her unlawful

        termination.

     41. Defendant acted with malice and with reckless indifference to Plaintiff's civil rights

        and emotional and physical well-being.

                         COUNT II: SEX DISCRIMINATION
                        FLORIDA CIVIL RIGHTS ACT § 760.10

     42. Plaintiff adopts and incorporates by reference the allegations in paragraphs 1

        through 23 of this Complaint.

     43. At all relevant times Defendant was an employer who employed more than 15

        employees as required by Fla. Stat. § 760.02.

     44. At all relevant times Defendant employed Plaintiff within the meaning of the

        Florida Civil Rights Act of 1992, Fla. Stat. § 760.01 et. seq.

     45. Defendant acted in the above mentioned manners with the intent to discriminate

        against Plaintiff on the basis of her sex.

     46. Defendant disciplined and terminated Plaintiff following her reported sex

        discrimination rather than investigate the claims. Plaintiff had been repeatedly

        discriminated against, eventually leading to employment retaliation following her

        continued complaints.

     47. Plaintiff’s sex was the legal cause for Defendant’s decision to discipline and

        eventually terminate her employment.

     48. Defendant knowingly and intentionally discriminated against Plaintiff on the basis

        of her sex in violation of Fla. Stat. § 760.01 et. seq.
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     49. Plaintiff gave Defendant actual notice of sex discrimination on two occasions

        including official complaints to human resources.

     50. This violation of the Florida Civil Rights Act of 1992 provides to Plaintiff back pay,

        reinstatement, attorneys’ fees and costs, or any other equitable relief deemed just

        pursuant to Fla. Stat. § 760.11.

       COUNT III: VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT
                         RACE DISCRIMINATION

     51. Plaintiff adopts and incorporates by reference the allegations in paragraphs 1

        through 23 of this Complaint.

     52. Plaintiff is Hispanic and as such is a member of a group protected under Title VII

        from discrimination on the basis of race. Plaintiff is Hispanic.

     53. At all times relevant, Defendant was considered employers under Title VII.

     54. At all times relevant, Defendant employed over 15 individuals.

     55. Following the hiring of a new manager, Plaintiff was the victim of discrimination

        on the basis of her race.       Defendant allowed persistent and pervasive race

        discrimination to occur within the workplace, refusing to stop the situations or

        address them at all, ultimately ending with Plaintiff’s termination.

     56. Plaintiff did not welcome the conduct described in paragraphs 14-16 and advised

        the human resources department of Defendant that such conduct was unwelcome.

     57. Plaintiff was subjected to the discrimination because of her race. Comments were

        made by the perpetrator specifically announcing her bias against Hispanic people

        including Plaintiff.

     58. The discrimination adversely affected Plaintiff's psychological well-being.
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     59. The discrimination unreasonably interfered with Plaintiff's work performance,

        though not enough to justify any assertions of poor quality by Defendant.

     60. The discrimination to which Plaintiff was subjected would affect the psychological

        well-being and unreasonably interfere with the work performance of a reasonable

        person.

     61. Plaintiff gave Defendant actual notice of race discrimination on several occasions

        including two official complaints.

     62. Defendant failed to investigate Plaintiff's complaints.

     63. Defendant failed to take adequate remedial action.

     64. The discrimination continued to occur following Plaintiff's complaints and

        continued up to and through her termination.

     65. Plaintiff sustained emotional suffering and injury attributable to the

        discrimination.

     66. Plaintiff has been without work a considerable time due to her unlawful

        termination.

     67. Defendant acted with malice and with reckless indifference to Plaintiff's civil rights

        and emotional and physical well-being.

                        COUNT IV: RACE DISCRIMINATION
                        FLORIDA CIVIL RIGHTS ACT § 760.10

     68. Plaintiff adopts and incorporates by reference the allegations in paragraphs 1

        through 23 of this Complaint.

     69. At all relevant times Defendant was an employer who employed more than 15

        employees as required by Fla. Stat. § 760.02.
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       70. At all relevant times Defendant employed Plaintiff within the meaning of the

          Florida Civil Rights Act of 1992, Fla. Stat. § 760.01 et. seq.

       71. Defendant acted in the above mentioned manners with the intent to discriminate

          against Plaintiff on the basis of her race. Plaintiff his Hispanic.

       72. Defendant disciplined and terminated Plaintiff following her reported race

          discrimination rather than investigate the claims. Plaintiff had been repeatedly

          discriminated against, eventually leading to employment retaliation following her

          continued complaints.

       73. Plaintiff’s race was the legal cause for Defendant’s decision to discipline and

          eventually terminate her employment.

       74. Defendant knowingly and intentionally discriminated against Plaintiff on the basis

          of her race in violation of Fla. Stat. § 760.01 et. seq.

       75. Plaintiff gave Defendant actual notice of race discrimination on two occasions

          including official complaints to human resources.

       76. This violation of the Florida Civil Rights Act of 1992 provides to Plaintiff back pay,

          reinstatement, attorneys’ fees and costs, or any other equitable relief deemed just

          pursuant to Fla. Stat. § 760.11.

          WHEREFORE, Plaintiff respectfully prays that this court:

  A.      Award Plaintiff front pay in lieu of reinstatement in an amount to be determined

  at trial if reinstatement is determined at trial to be impractical.

  B.      Award Plaintiff back pay, including overtime pay, pension benefits, and other

  employment benefits which would have accrued if Plaintiff's employment had not been

  terminated.

  C.      Award Plaintiff compensatory damages for her emotional suffering.
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  A.    Award Plaintiff attorneys' fees, including expert witness fees, pursuant to Fla. Stat

  760 and pursuant to 42 U.S.C.A. § 2000e-5(k).

  D.    Award Plaintiff costs, interest, and such other relief as this Court may deem proper.

                                      JURY DEMAND

        Plaintiff demands trial by jury of all issues so triable as of right.

  Dated this 22nd day of November 2019.

                                                    Respectfully submitted,
                                                    By:__/s/ R. Edward Rosenberg
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